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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

VU TRAN,                                       §
Individually and on behalf of all others       §
Similarly situated,                            §
                       Plaintiffs,             §   No. 4:17-cv-03588
       -against-                               §
                                               §
KEANE FRAC TX, LLC; KEANE FRAC                 §
ND, LLC; KEANE FRAC GP, LLC;                   §
KEANE FRAC, LP, KEANE GROUP, LLC;              §
and KEANE GROUP HOLDINGS, LLC,                 §
                                               §
                          Defendants.          §

              ORDER DENYING PLAINTIFF’S MOTION FOR CERTIFICATION
                           & EXPEDITED DISCOVERY

          Before the Court is Plaintiff’s Motion for Certification and Expedited Discovery,

Defendant’s Response, and Plaintiff’s Reply. The Court finds that Plaintiff has not presented

sufficient evidence to warrant conditional certification of a collective action. It is therefore

ORDERED that Plaintiff’s Motion for Certification and Expedited Discovery is hereby

DENIED.

SO ORDERED.

SIGNED THIS _____ day of ___________, 2018.




                                                           Robert A. Junell
                                                           Senior U.S. District Judge
                                                           Western District of Texas




ORDER DENYING PLAINTIFF’S MOTION FOR CERTIFICATION AND EXPEDITED DISCOVERY
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